          Case 1:20-cr-00500-JGK Document 38 Filed 03/16/21 Page 1 of 3




                                                                                      JAMES J. BENJAMIN, JR.
                                                                                      212-872-8091
                                                                                      jbenjamin@akingump.com




                                                    March 16, 2021

VIA ELECTRONIC COURT FILING

Hon. John G. Koeltl
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Arthur Hayes, 20 Cr. 500 (JGK)

Dear Judge Koeltl:

         We are counsel for defendant Arthur Hayes in the above-captioned case. Mr. Hayes is a
U.S. citizen who lawfully resides in Singapore. Beginning shortly after the indictment was
unsealed in October 2020, we have been in ongoing discussions with the government with a view
toward arranging for Mr. Hayes’ voluntary appearance and release on bail. Those discussions
have proved complex due to several factors, most notably the travel and public health disruptions
caused by the global COVID-19 pandemic. However, as outlined by the government at the
February 9, 2021 status conference, the parties have now reached agreement-in-principle on a
proposed bail package and logistical arrangements for Mr. Hayes’ voluntary surrender in the
District of Hawaii on April 6, 2021. See 2/9/21 Tr. at 5-7. We respectfully submit this letter to
inform the Court of the details of the April 6 voluntary surrender and proposed bail package.

                                            Background on Mr. Hayes

        Mr. Hayes is 35 years old and a native of upstate New York. After graduating from the
University of Pennsylvania’s Wharton School of Business in 2008, he moved to Asia and has
lived there ever since. From 2008 to 2013, Mr. Hayes worked at Deutsche Bank and Citi,
respectively, and in 2014 he co-founded BitMEX, a cryptocurrency derivatives trading platform
that has, over time, grown into a significant business enterprise. Mr. Hayes is in good health and
has no prior criminal record.




               One Bryant Park | New York, New York 10036-6745 | 212.872.1000 | fax: 212.872.1002 | akingump.com
            Case 1:20-cr-00500-JGK Document 38 Filed 03/16/21 Page 2 of 3




Hon. John G. Koeltl
United States District Court
Southern District of New York
March 16, 2021
Page 2

       Mr. Hayes is married to a Singaporean citizen. He and his wife live in Singapore in an
apartment that Mr. Hayes owns.1 Previously, Mr. Hayes lived in Hong Kong, where he has a
residency permit. From January 2020 through the present, he has been continuously present in
Singapore.

                     Proposed Bail Conditions and Voluntary Surrender Logistics

        After extensive discussions, the parties have agreed on the following proposed bail
conditions, subject to the Court’s approval: (a) release on a $10 million personal recognizance
bond, secured by $1 million in cash and co-signed by Mr. Hayes’ mother; (b) Mr. Hayes to
reside in Singapore with pre-approved travel to the State of New York; (c) Mr. Hayes to retain
his passport for travel between Singapore and the United States; (d) Mr. Hayes to execute a
waiver of extradition in a form mutually agreed by the government and the defense; and (e)
standard conditions of release such as not possessing firearms and reporting any contact with law
enforcement within 24 hours. Given logistical challenges, we request that Mr. Hayes be released
on the date of his initial appearance, with the co-signer to sign the bond within 10 days and Mr.
Hayes to post the $1 million cash security within 5 days of Mr. Hayes’ counsel being notified of
the specific account to which the cash security should be deposited.2

        With respect to voluntary surrender, Mr. Hayes intends to arrive in the District of Hawaii
on the morning of April 6, 2021. We understand that the government has been in touch with the
local FBI office in Honolulu to arrange for logistics of processing and transportation to the
courthouse, although the exact details remain uncertain. To the extent that Mr. Hayes is required
to appear remotely for proceedings such as the pretrial services interview and his initial
appearance before a magistrate judge in Hawaii, he consents to video teleconferencing pursuant
to Fed. R. Crim. P. 5(f). Following his initial appearance, Mr. Hayes will remain in Hawaii for a
prescribed quarantine period, before returning to Singapore. As the criminal case moves
forward, he will of course travel to New York as needed for court appearances and meetings with
counsel.


        1
           Since early 2021, Mr. Hayes’ wife has been in Hong Kong for work training, but she expects to return to
Singapore in April 2021 pursuant to remote work arrangements and, thereafter, to spend time in Singapore and Hong
Kong once COVID-19-related travel restrictions have eased.
         2
           The government reserves the right to bring to the Court’s attention new or different information that may
be contained in the pretrial services report.
         Case 1:20-cr-00500-JGK Document 38 Filed 03/16/21 Page 3 of 3




Hon. John G. Koeltl
United States District Court
Southern District of New York
March 16, 2021
Page 3

       We are happy to respond if the Court has any questions about the anticipated
arrangements for Mr. Hayes’ voluntary surrender, initial appearance, or proposed bail package.

                                            Respectfully,

                                            /s/ James J. Benjamin, Jr.

                                            James J. Benjamin, Jr.
                                            Katherine Goldstein
                                            Peter I. Altman


cc:    AUSA Jessica Greenwood
       AUSA Sam Raymond
